Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 1 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 2 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 3 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 4 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 5 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 6 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 7 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 8 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                     Page 9 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 10 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 11 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 12 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 13 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 14 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 15 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 16 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 17 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 18 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 19 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 20 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 21 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 22 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 23 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 24 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 25 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 26 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 27 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 28 of 29
Case 15-11221   Doc 33-1   Filed 08/03/15 Entered 08/03/15 13:29:04   Desc Exhibit
                                    Page 29 of 29
